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AO 98 (Rev. 12/11) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________
                   United States of America                             )
                                 v.                                     )
                                                                        )       Case No.
                                                                        )
                             Defendant                                  )

                                                         APPEARANCE BOND

                                                         Defendant’s Agreement
I,                                                              (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for court proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
             (     )     to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                               Type of Bond
(     ) (1) This is a personal recognizance bond.

(     ) (2) This is an unsecured bond of $                                                    .

(     ) (3) This is a secured bond of $                                               , secured by:

        (     ) (a) $                                , in cash deposited with the court.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan – and attach proof of
                 ownership and value):

                                                                                                                                         .
                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):


                                                                                                                                         .

                                                   Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                          Declarations

Ownership of the Property. I, the defendant – and each surety – declare under penalty of perjury that:
         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.
Acceptance. I, the defendant – and each surety – have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant – and each surety – declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)


Date:
                                                                                         Defendant’s signature



                Surety/property owner – printed name                           Surety/property owner – signature and date



                Surety/property owner – printed name                           Surety/property owner – signature and date



                Surety/property owner – printed name                           Surety/property owner – signature and date




                                                                 CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk

Approved.

Date:
                                                                                           Judge’s signature
